Case 2:05-cV-02100-.]DB-tmp Document 8 Filed 07/01/05 Page 1 of 3 Page|D 13

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IN 'rHE UNITED sTATEs DISTR_ICT CoURr ‘~ --- D.e
FOR THE WESTERN DisrRIcT oF TENNESSEE 05 JUL _, , d
WESTERN DIvisIoN n 'U= 149
LOU HENRY M. LoCKETT, 111, le/Bug_ ngmegr%n
Plaintiff,
v. No. 05-2100 B
ACTION oRNAMENTAL 1R0N,
Defcndant.

 

ORDER DENYING WITHOUT PREJUDICE DEFENDANT'S MOTION TO DISMISS

 

Before the Court is the motion of the Defendant, Action Omamental Iron, to dismiss the
Plaintiff‘s complaint pursuant to Rules 12(a) and (b) of the Federal Rules of Civil Procedure. In its
entirety, the motion states as follows: "Comes now the Defendant, Action Omamental Iron, pursuant
to Rule lZ(a) (b) [sic] and moves this honorable Court dismiss this cause of action on the grounds
that it fails to state a claim upon which relief can be granted." (Mot. to Dismiss at l.) The local
rules of this district require that "motions in civil cases [be] accompanied by a supporting
memorandum of facts and law" and "shall contain a brief statement of its bases." LR7.2(a)( l ), Local
Rules of the U.S. Dist. Ct. for the W.D. of Tenn. The Defendant's filing falls far short of compliance
with the Rule. Clearly, it is the job of Defendant's counsel, not the Court, to peruse the Plaintiff‘s
complaint and fashion an argument for dismissal to be presented to the Court for determination

Accordingly, the motion is DEN"[ED without prejudice

This document entered on the docket sheet |n compliance g
With Hule 58 and/or 79(a} FP.CP on ' ' l

Case 2:05-cV-02100-.]DB-tmp Document 8 Filed 07/01/05 Page 2 of 3 Page|D 14

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This notice confirms a copy of the document docketed as number 8 in
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Honorable J. Breen
US DISTRICT COURT

